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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


 GABRIEL STITT, et al.,
     Plaintiffs,
         v.                                         CIVIL ACTION FILE
                                                    NO. 1:18-CV-2516-TWT


 AMERICAN DISPOSAL SERVICES
 OF GEORGIA, INC.,
     Defendant.

                                   OPINION AND ORDER

        This is an action under the Fair Labor Standards Act for unpaid overtime

wages. It is before the Court on the Plaintiffs’ Motion for Conditional Certifica-

tion and Issuance of Notice [Doc. 43]. For the following reasons, the Plaintiffs’

Motion is GRANTED.

                                          I. Background

        The named Plaintiffs are currently or were formerly employed as “drivers”

or “laborers” by Defendant American Disposal Services of Georgia, Inc.1 The

Plaintiffs contend that the Defendant underpaid or failed to pay them and

similarly situated employees for overtime hours in violation of the Fair Labor




        1
       Pls.’ Mot. for Conditional Certification and Issuance of Notice, at 6 [Doc.
43]. “Drivers” drive residential and commercial waste disposal trucks.
“Laborers” ride on the backs of residential waste disposal trucks and deposit
waste into the trucks. Id.
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Standards Act.2 Section 207 of the FLSA requires employers to pay non-exempt

employees time and a half for all hours worked in excess of forty per week.

According to the Plaintiffs, the Defendant pays its drivers and laborers a flat

weekly salary regardless of the number of hours that they actually work.3

Although the Plaintiffs’ pay stubs reflect regular and overtime rates, the

Plaintiffs allege that these rates were manipulated such that the Plaintiffs

invariably received an amount close to the pre-determined flat weekly salary.4

The Defendant denies the Plaintiffs’ claims. The Plaintiffs now seek to bring a

collective action on behalf of themselves and all other “[c]urrent and former

employees of [the Defendant] who work or have worked as Drivers and Laborers

for the three years preceding the filing of this lawsuit[.]”5

     II. Standard for Conditional Certification of FLSA Collective Actions

        A collective action under the Fair Labor Standards Act “may be

maintained against any employer ... by any one or more employees for and in

behalf of himself or themselves and other employees similarly situated. No

employee shall be a party plaintiff to any such action unless he gives his consent

in writing[.]”6 This Court has discretion to authorize the sending of notice to

        2
            Id., at 6-9.
        3
            Id., at 7-8.
        4
            Id.
        5
            Id., at 4.
        6
            29 U.S.C. § 216(b).

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potential class members in a collective action.7 Unlike class actions under Rule

23, a collective action under the FLSA requires individuals to opt in to the action

instead of opting out.8 Whether or not to certify a collective action is “soundly

within the discretion of the district court.”9

         Courts typically employ a two-step process to determine whether

employees are similarly situated so that a collective action is proper. The first

step is the “notice” or “conditional certification” stage.10 At this stage, the Court

may grant conditional certification if a plaintiff demonstrates a reasonable basis

to believe that: (1) there are other employees of the defendant who desire to

opt-in; and (2) that these other employees are “‘similarly situated’ with respect

to their job requirements and with regard to their pay provisions.”11

         A class plaintiff's burden is “not particularly stringent,” “fairly lenient,”

and “not heavy,” and may be met with “detailed allegations supported by




         7
             Hoffmann-La Roche Inc. v. Sperling, 493 U.S. 165, 169-70 (1989).

       Shabazz v. Asurion Ins. Serv., No. 3:07-0653, 2008 WL 1730318, at *2
         8

(M.D. Tenn. 2008), citing Douglas v. GE Energy Reuter Stokes, No. 1:07-CV-77,
2007 WL 1341779, at *2 (N.D. Ohio 2007).
         9
             Hipp v. Liberty Nat. Life Ins. Co., 252 F.3d 1208, 1219 (11th Cir. 2001).
         10
              Morgan v. Family Dollar Stores, Inc., 551 F.3d 1233, 1260-61 (11th Cir.
2008).
         11
              Dybach v. State of Fla. Dep't of Corrs., 942 F.2d 1562, 1567-68 (11th
Cir. 1991).

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affidavits which successfully engage defendants' affidavits to the contrary.”12

While courts have not defined “similarly situated,” it is clear that a plaintiff does

not need to show that his position is "identical" to the position held by any other

putative class member.13 The Court has “broad discretion at the notice stage,”

but is “constrained, to some extent, by the leniency of the standard for the

exercise of that discretion.”14

                                          III. Discussion

        A. Conditional Certification

        The Plaintiffs have made a sufficient showing to meet their burden at the

conditional certification stage. Since filing this suit, the original Plaintiffs have

been joined by fifteen opt-in Plaintiffs.15 This fact alone is sufficient to

demonstrate that other employees of the Defendant desire to opt in.16 As for

whether these employees are “similarly situated,” the Plaintiffs have submitted

declarations from a sampling of the original and opt-in Plaintiffs declaring that

they work or worked in similar positions and that the Defendant used the same

        12
             Morgan, 551 F.3d at 1261; Grayson v. K Mart Corp., 79 F.3d 1086, 1097
(11th Cir. 1996).
        13
             Grayson, 79 F.3d at 1096.
        14
             Morgan, 551 F.3d at 1261.
        15
             Pls.’ Mot. for Conditional Certification and Issuance of Notice, at 3.
        16
             See Stevenson v. Great Am. Dream, Inc., No. 1:12-CV-3359-TWT, 2013
WL 4217128, at *2 (N.D. Ga. Aug. 14, 2013) (finding that the plaintiffs had met
their burden where just one other individual had opted into the action during
the briefing of the motion for conditional certification).

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or similar methods to calculate their pay.17 The Defendant does not contest that

the putative class should be conditionally certified at this stage of the

litigation.18 Thus, the Plaintiffs have provided a reasonable basis for conditional

certification under the lenient standard adopted by the Eleventh Circuit. This

Court will conditionally certify a class of current or former employees of the

Defendant who were employed as drivers or laborers in the three years prior to

mailing of notice.19

        The class definition formulated by this Court differs from the class

definition articulated by the Plaintiffs. The Plaintiffs use May 24, 2015 as the



         See Decl. of Gabriel Stitt [Doc. 43-4]; Decl. of Floyd Little [Doc. 43-5];
        17

Decl. of Drew Duncan [Doc. 43-6]; Decl. of Brandon Reynolds [Doc. 43-7]; Decl.
of Robyn Greer [Doc. 43-8].
        18
        Def.’s Resp. in Partial Opp. to Pls.’ Mot. for Conditional Certification
and Issuance of Notice, at 1-2 [Doc. 50].
        19
         Generally, FLSA claims have a two-year statute of limitations. A three-
year statute of limitations applies, however, in cases where the Defendant has
willfully violated the FLSA. 29 U.S.C. § 255(a). The Plaintiffs contend that the
Defendant violated the FLSA by using pay formulas designed to avoid paying
overtime to its employees. Pls.’ Mot. for Conditional Certification and Issuance
of Notice, at 21-22. “The determination of willfulness is a mixed question of law
and fact.” Hu v. Windhaven Ins. Co., No. 8:15-CV-0277-MSS-TGW, 2016 WL
7177618, at *4 (M.D. Fla. Feb. 16, 2016) (quoting Allen v. Bd. of Pub. Educ. for
Bibb Cnty., 495 F.3d 1306, 1324 (11th Cir. 2007)). Courts typically do not
address the statute of limitations at the conditional certification stage because
doing so would require courts to reach the merits of the underlying claims. See
Hu, 2016 WL 7177618, at *5; Pares v. Kendall Lakes Auto., LLC, No.
13-20317-CIV, 2013 WL 3279803, at *10 (S.D. Fla. June 27, 2013). Although it
makes no admissions regarding willfulness, the Defendant does not challenge
the use of the three-year statute of limitations in defining the conditionally
certified class. The Defendant is free to challenge the appropriateness of the
three-year statute of limitations at the decertification stage.

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cut-off date for class membership, which is the date exactly three years prior to

the filing the Complaint. FLSA actions are “forever barred” unless they are

commenced within two years (or three, in the case of a willful violation) after the

cause of action accrued.20 While the statute of limitations is tolled for the

original named Plaintiffs at the time that the Complaint is filed, the statute of

limitations is tolled for opt-in plaintiffs only after a written consent form is filed

with the court.21 The class should not include former employees of the Defendant

whose employment terminated at some point after May 24, 2015 but before the

date three years prior to the issuance of notice. Thus, the class definition

proposed by the Plaintiffs is overinclusive. The Plaintiffs do not make a case for

equitable tolling of potential plaintiffs’ claims in their briefing, and it does not

appear to this Court that there are any “extraordinary circumstances” that

would justify equitable tolling in this case.22




        20
             29 U.S.C. § 255(a).
        21
             Id. § 256.

         Love v. Phillips Oil, Inc., No. 3:08CV92/MCR/MD, 2008 WL 5157677,
        22

at *1 (N.D. Fla. Dec. 9, 2008) (“Equitable tolling is a ‘remedy which should be
extended only sparingly.’ ... Its application may be warranted, however, if
‘extraordinary circumstances’ exist ‘that are both beyond [the plaintiff’s] control
and unavoidable even with diligence.’”) (citations omitted).

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        B. Issuance of Notice

        Having determined that the class should be conditionally certified, this

Court now turns to the Defendant’s objections regarding the contents of the

Plaintiffs’ proposed notice and the manner in which it will be disseminated. The

Defendant raises the following objections:

        (1) the Defendant should not be required to post notice at its facility as

        requested by the Plaintiffs;

        (2) the Plaintiffs’ discovery requests for the personal information of the

        Defendant’s employees are overbroad;

        (3) the private information requested by the Plaintiffs should be provided

        to a third party administrator, not directly to the Plaintiffs’ counsel;

        (4) the Plaintiffs’ proposed notice period of ninety days is too long;

        (5) the Plaintiffs’ request that the Defendant be barred from any contact

        with putative class members for reasons related to the litigation is

        unreasonable; and

        (6) the Plaintiffs’ proposed Notice and Consent to Join Form must be

        revised in various respects.

This Court will take up each of these objections in turn.




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                 1. Posting at the Defendant’s Facility

        The Defendant maintains a single facility in Georgia.23 In addition to

notice by U.S. mail, the Plaintiffs request that notice be posted at the Defen-

dant’s facility. The Plaintiffs argue that courts “routinely” authorize posting

notice concurrent with notice by mail.24 The Defendant objects, pointing to a line

of cases in which courts have refused to authorize posting notice absent some

showing that the defendant has failed to provide adequate contact information

or has otherwise failed to cooperate in the collective action process.25 This Court

is persuaded by the line of cases provided by the Defendant.26 Therefore, this

Court will deny without prejudice the Plaintiffs’ request to post notice at the

Defendant’s facility. This Court may reconsider if the Defendant fails to provide

timely and adequate contact information to the Plaintiffs after the issuance of

this Order.




        23
        Def.’s Resp. in Partial Opp. to Pls.’ Mot. for Conditional Certification
and Issuance of Notice, at 3 n.2.
        24
          Pls.’ Repl. Br. in Supp. of Mot. for Conditional Certification and
Issuance of Notice, at 6 [Doc. 51] (citing Campbell v. Pincher’s Beach Bar Grill
Inc., 2016 WL 3626219, at *7 (M.D. Fla. July 7, 2016) (“[R]equests [to post
notices] are routinely granted and the Court sees no reason to divert from that
standard of practice in this case.”)).
        25
        Def.’s Resp. in Partial Opp. to Pls.’ Mot. for Conditional Certification
and Issuance of Notice, at 3-4 (citing Hu, 2016 WL 7177618, at *4 (M.D. Fla.
Feb. 16, 2016); Ciani v. Talk of The Town Rests., Inc., No.
8:14-CV-2197-T-33AEP, 2015 WL 226013, at *6 (M.D. Fla. Jan. 16, 2015)).
        26
             See Hu, 2016 WL 7177618, at *4 (compiling cases).

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                   2. Overbroad Discovery Requests

        The Plaintiffs request that the Defendant provide them with a list of the

full names, job titles, last known addresses, personal e-mail addresses,

telephone numbers, dates of birth, last four digits of social security number, and

dates of employment for all putative class members.27 The Defendant objects to

the disclosure of anything beyond its employees’ full names, job titles, last

known addresses, and dates of employment.28 The Defendant argues that its

employees’ privacy interests outweigh the Plaintiffs’ need for this information

and that the additional information is not needed to disseminate notice.29 This

Court agrees with the Defendant. The Plaintiffs propose to effectuate notice

through U.S. mail. Their plan does not involve contact by e-mail or telephone,

either initially or as a follow-up to the mailed notice. The Plaintiffs do not argue

that mailed notice will be ineffective. Therefore, this Court will order the

Defendant to disclose to the Plaintiffs only the information necessary to

disseminate notice by mail: the employees’ full names, job titles, last known

addresses, and dates of employment. The Defendant is to provide the Plaintiffs

with this list within fourteen days of the date of this Order.



        27
             Pls.’ Mot. for Conditional Certification and Issuance of Notice, at 5-6,
24.
        28
        Def.’s Resp. in Partial Opp. to Pls.’ Mot. for Conditional Certification
and Issuance of Notice, at 5-6.
        29
             Id.

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                 3. Third-Party Administrator

        The Defendant objects to transmitting its employees’ personal information

directly to the Plaintiffs, arguing instead that the information should be given

to a third-party administrator tasked with overseeing the notice process. The

Defendant contends that doing so will “ensure that any notice process remains

objective and avoids the potential for abuse or misleading communications.”30

Aside from these generalized assertions, the Defendant provides no concrete

reasons why the Plaintiffs’ counsel cannot be trusted with the information

requested. The Defendant’s concerns are also ameliorated by the fact that the

Plaintiffs will not be receiving employees’ e-mail, telephone, or social security

information. Therefore, this Court will deny the Defendant’s unilateral request

for a third-party administrator.31

                 4. Proposed Notice Period

        The Plaintiffs request that the notice period extend for ninety days from

the date that notice is initially mailed. The Defendant argues instead for a

notice period of forty-five days but no less than sixty days. The Defendant cites

several cases from this district in which courts have approved forty-five or sixty


        30
        Def.’s Resp. in Partial Opp. to Pls.’ Mot. for Conditional Certification
and Issuance of Notice, at 6-7.
        31
         In their reply brief, the Plaintiffs note that they are “not generally
opposed to the use of an administrator for efficiency.” Pls.’ Repl. Br. in Supp. of
Mot. for Conditional Certification and Issuance of Notice, at 3. If the parties
confer and jointly decide that they would like to use the services of a third-party
administrator, they are free to petition this Court at that time.

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day notice periods.32 The Plaintiffs do not explain why a ninety day notice

period, which would seem to be on the upper bound of notice periods previously

approved in this district, is necessary in this case. Accordingly, the Plaintiffs’

notice should be revised to restrict the opt-in period to sixty days.

                 5. Restrictions on Communication

        The Plaintiffs request that this Court exercise its broad discretion to

prohibit the Defendant from contacting “any individual disclosed as a putative

class member for reasons related to this litigation.”33 The Defendant objects that

this absolute bar on communication is overbroad and unnecessary. The

Defendant relies principally on the case Longcrier v. HL-A Co.34 The court in

Longcrier engaged in an extensive review of the relevant authorities and

determined that “a defendant in a § 216(b) action is not categorically forbidden

from communicating with prospective opt-in plaintiffs.”35 The court reasoned

that restrictions on communication must be used sparingly “because of the

substantial First Amendment considerations triggered by such constraints.”36

While courts routinely limit communications in cases where a party has



        32
        Def.’s Resp. in Partial Opp. to Pls.’ Mot. for Conditional Certification
and Issuance of Notice, at 7.
        33
             Pls.’ Mot. for Conditional Certification and Issuance of Notice, at 24.
        34
             595 F. Supp. 2d 1218, 1225 (S.D. Ala. 2008).
        35
             Id. at 1225.
        36
             Id. at 1226.

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“engaged in misleading or coercive behavior,” courts have declined to do so in the

absence of such a record.37 This Court agrees with the reasoning in Longcrier.

Absent some evidence of impropriety on the part of the Defendant, this Court

will not prohibit communication with putative class members. The Plaintiffs’

request should be denied.

                 6. Objections and Proposed Revisions to Notice

        The Defendant raises various objections to the content of the Plaintiffs’

proposed Notice and the Consent to Join Form, and has attached to its briefing

line-edited versions of these documents for this Court’s review. The Plaintiffs’

reply briefing asserts generally that the “proposed judicial notice is ‘timely,

accurate, and informative’” but directly responds only to a few of the Defendant’s

proposed revisions. Accordingly, it is unclear to this Court which provisions are

genuinely in dispute. Rather than parse through each of the Defendant’s

objections in turn, this Court directs the parties to confer in good faith in an

effort to present the Court with a joint proposed Notice and a Consent to Join

Form. In order to forestall unnecessary argument, however, this Court notes in

closing that it sees no reason to omit the anti-retaliation provision from the

proposed Notice. Such provisions are routinely included in notices issued in this

district.




        37
             Id. at 1227.

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                                               IV. Conclusion

             For the reasons stated above, the Plaintiffs’ Motion for Conditional

Certification and Issuance of Notice [Doc. 43] is GRANTED. The Court ORDERS

the Defendant to provide the Plaintiffs with a list of the full names, job titles,

last known addresses, and dates of employment of all drivers and laborers who

were employed by the Defendant within three years prior to the date of this

Order. This list should be provided within fourteen days of the date of this

Order. The Court DIRECTS the parties to confer and jointly submit a proposed

Notice and a Consent to Join Form consistent with this Order for Court

approval.

             SO ORDERED, this 20 day of December, 2018.



                                               /s/Thomas W. Thrash
                                               THOMAS W. THRASH, JR.
                                               United States District Judge




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